EDTN Judgment in a Criminal Case for Revocation (Rev. 8/01)
     Sheet 1



                                      United States District Court
                                           Eastern District of Tennessee

        UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                   v.                                               (For Revocation of Probation or Supervised Release)
                                                                    (For Offenses committed on or after November 1, 1987)
      NAVON MARTIN, A.K.A. NEW YORK
                     (Defendant’s Name)
                                                                    Criminal Number:                 1:10-CR-34-006

                                                                    Mary Ellen Coleman
                                                                    Defendant’s Attorney

THE DEFENDANT:
[T]      admitted guilt to violation of condition(s) of the term of supervision.
[]       was found in violation of condition(s)      after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s);

                                                                                         Date Violation
Violation Number                    Nature of Violation                                  Occurred

See next page.




       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has not violated condition(s)          and is discharged as to such violation(s) condition.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States attorney of any material change in the defendant’s economic circumstances.

                                                                                                  3/8/2012
                                                                  Date of Imposition of Sentence

                                                                                                      /s/
                                                                  Signature of Judicial Officer

                                                                    CURTIS L. COLLIER, Chief United States District Judge
                                                                  Name & Title of Judicial Officer


                                                                  Date




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DEFENDANT:               NAVON MARTIN, A.K.A. NEW YORK

                                                  ADDITIONAL VIOLATIONS

Violation Number                                   Nature of Violation                                    Date Violation Occurred
I                                                  Special Condition: The defendant shall reside at the 10/31/2011
                                                   Salvation Army Comprehensive Sanction Center in
                                                   Chattanooga, TN, for a period of six (6) months.
                                                   The defendant shall abide by all rules and regulations of
                                                   the Sanction Center as well.

II                                                 Standard Condition #3: The defendant shall answer       10/31/2011, 11/1/2011
                                                   truthfully all inquiries by the probation officer and
                                                   follow the instructions of the probation officer.

III                                                Standard Condition #6: The defendant shall notify the 11/4/2011
                                                   probation officer at least 10 days prior to any change in
                                                   residence or employment.




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     Sheet 2 — Imprisonment
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DEFENDANT:               NAVON MARTIN, A.K.A. NEW YORK
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                                                             IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 10
months .




[]     The court makes the following recommendations to the Bureau of Prisons:



[T]    The defendant is remanded to the custody of the United States Marshal.


[]     The defendant shall surrender to the United States Marshal for this district:
       [ ] at      [] a.m. [] p.m. on       .
       [ ] as notified by the United States Marshal.


[]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ ] before 2 p.m. on     .
       [ ] as notified by the United States Marshal.
       [ ] as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




       Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                                           UNITED STATES MARSHAL



                                                                                                    By
                                                                                                         DEPUTY UNITED STATES MARSHAL




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EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 3 — Supervised Release
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                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by
the court.

[]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
       abuse. (Check, if applicable.)

[T]    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[T]    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable.)

[]     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such fine or
restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply
with the additional conditions on the attached page.


                                      STANDARD CONDITIONS OF SUPERVISION

 1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
       month;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependants and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
       substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
       or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
       compliance with such notification requirement.



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                                     SPECIAL CONDITIONS OF SUPERVISION
The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation officer for treatment of
narcotic addiction or drug or alcohol dependency which may include testing for the detection of substance use or abuse.




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